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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   FORT SMITH DIVISION


 UNITED STATES OF AMERICA                                                            PLAINTIFF

 v.                                  Case No. 2:24-cr-20003-001

 CAMERON CHAD CLAYBAUGH                                                           DEFENDANT


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing

was conducted on February 29, 2024, and, pursuant to a written Plea Agreement, the Defendant

entered a plea of guilty to Count One (1) of the Indictment.

       After conducting the hearing in the form and manner prescribed by Rule 11, the

undersigned finds:

       1.      The Defendant, after consultation with his counsel, has knowingly and voluntarily

consented, both in writing and on the record at the hearing, to the entry of his guilty plea before

the undersigned, with the guilty plea being subject to the final approval by United States District

Judge P. K. Holmes, III.

       2.      The Defendant and the Government have entered into a written Plea Agreement

which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed

that the Plea Agreement be filed.

       3.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charge, the applicable maximum penalties, and the
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consequences of the guilty plea; the Defendant is fully satisfied with his counsel and has had

sufficient time to consult with him; and, the plea of guilty is a knowing and voluntary guilty plea

supported by an independent basis in fact containing each of the essential elements of the offense.

        4.      The Defendant understands his constitutional and statutory rights and wishes to

waive these rights.

        5.      The parties were informed, both in writing and on the record at the hearing, of their

right to file written objections within fourteen (14) days after receipt of this Report and

Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the record

and in writing, their right to file objections.

        Based on the foregoing, the undersigned recommends that the guilty plea be accepted and

that the written Plea Agreement be tentatively approved, subject to final approval at sentencing.

        Dated: February 29, 2024



                                                  /s/ Mark E. Ford____________
                                                  HON. MARK E. FORD
                                                  UNITED STATES MAGISTRATE JUDGE
